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          EXHIBIT A
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK

LINITED STATES OF AMERICA ex rel.
BENJAMIN MARTINEZ, JR., CONNIE
MORGAN, and CHRISTOPHER NEGRETE;

STATE OF ALASK A ex rel. BENJAMIN
MARTINEZ, JPt., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE:

STATE OF CALIFORNIA ex rel. BENJAMIN
MARTINEZ, JPt., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE:

STATE OF COLORADO ex r¿l. BENJAMIN
MARTINEZ, JR., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE:

STATE OF CONNECTICUT ex rel.
BENJAMIN MARTINEZ, JR., CONNIE           CORRECTED SECOND AMENDED
MORGAN, and CHRISTOPHER NEGRETE;         COMPLAINT

DISTRICT OF COLUMBIA ex rel.
                                         CIVIL ACTION No: 17-CV-1059
BENJAMIN MARTINEZ, JR., CONNIE
                                         FILED UNDER SEAL
MORGAN, and CHRISTOPHER NEGRETE;
                                         PURSUANT TO
                                         3l u.s.c. $ 3730(b)
STATE OF DELAWARE ex rel. BENJAMIN
MARTINEZ, JPt, CONNIE MORGAN, and
                                         JURY TRIAL REQUESTED
CHRISTOPHER NEGRETE:

STATE OF FLORIDA ex rel. BENJAMIN
MARTINEZ, JR., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE;

STATE OF GEORGIA ex rel. BENJAMIN
MARTINEZ, JR., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE:

STATE OF HAWAII ex rel. BENJAMIN
MARTINEZ, JR., CONNIE MORGAN. and
CHRISTOPHER NEGRETE;

STATE OF ILLINOIS ex rel. BEN.IAMIN
MARTINEZ,IP.., CONNIE MORGAN, and
CHRISTOPHER NEGRETE;
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U.S. ex rel. Marlinez, et al. y. Apria Heahhcare Group, Inc., el al.
CORRECTED SECOND AMENDED COMPLAINT


STATE OF INDIANA ex rel. BENJAMIN
MARTINEZ, JP.., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE;

STATE OF IOV/A ex rel. BENJAMIN
MARTINEZ, JR., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE;

STATE OF LOUISIANA ex rel. BENJAMIN
MARTINEZ, JPt., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE;

STATE OF MARYLAND ex rel. BENJAMIN
MARTINEZ, TP.., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE;

STATE OF MASSACHUSETTS ex rel.
BENJAMIN MARTINEZ, JR., CONNIE
MORGAN, and CHRISTOPHER NEGRETE;

STATE OF MICHIGAN ex r¿l. BENJAMIN
MARTINEZ, JR., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE;

STATE OF MINNESOTA ex rel. BENJAMIN
MARTINEZ, JPt., CONNIE MORGAN, and
CHRISTOPHER NEGRETE;

STATE OF MONTANA ex rel. BENJAMIN
MARTINEZ, JR., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE;

STATE OF NEVADA ex rel BENJAMIN
MARTINEZ, JP.., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE;

STATE OF NEV/ JERSEY ex rel. BENJAMIN
MARTINEZ, JP.., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE:

STATE OF NEV/ MEXICO ex rel. BENJAMIN
MARTINEZ, JR., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE:

STATE OF NEW YORK ex rel. BENJAMIN

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MARTINEZ, JR., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE;

STATE OF NORTH CAROLIN A ex rel.
BENJAMIN MARTINEZ, JR., CONNIE
MORGAN, and CHRISTOPHER NEGRETE;

STATE OF OKLAHOMA ex rel. BENJAMIN
MARTINEZ, JR., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE;

STATE OF RHODE ISLAND ex rel.
BENJAMIN MARTINEZ, JR., CONNIE
MORGAN, and CHRISTOPHER NEGRETE;

STATE OF TENNESSEE ex rel. BENJAMIN
MARTINEZ, JR., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE:

STATE OF TEXAS ex rel. BENJAMIN
MARTINEZ, JR., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE;

STATE OF VERMONT ex rel. BENJAMIN
MARTINEZ, JR., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE;

STATE OF VIRGINIA er rel. BENJAMIN
MARTINEZ, JR., CONNIE MORGAN, ANd
CHRISTOPHER NEGRETE;

STATE OF V/ASHINGTON ex rel.
BENJAMIN MARTINEZ, JR., CONNIE
MORGAN, and CHRISTOPHER NEGRETE;

           Plaintiffs,
     V


APRIA HEALTHCARE GROUP, INC., and
APRIA HEALTHCARE LLC,

           Defendants.

                 CORRECTED SECOND AMENDED COMPLAINT
                            (False Claims Act)


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        1.     This is a False Claims Act case. Defendants Apria Healthcare Group, Inc. and

Apria Healthcare LLC (together, "Apria") knowingly bill Medicare and Medicaid fol expensive

Non-Invasive Ventilators ("NIVs") that ale not actually used by Aplia's patients. Because the

ventilators are not actually used, government payment guidelines forbid reimbursement fol the

NIVs, and Apria knows it. Apria's claims for reimbursement are false and Apria knows them to

be false.

                                 JURISDICTION AND VENUE

        2.     All Counts of this Complaint are civil actions by Relators, acting on behalf of and

in the nanìe of the United States and the state plaintiffs, against Apria under the federal False

Claims Act, 31 U.S.C. çç 3729-3733, and analogous state false claims laws.

        3.     This Court has jurisdiction ovel the claims brought on behalf of the United States

pursuantto2SU.S.C. $$ 1331 and 1345,and 3l U.S.C. $3732(a).

        4.     This Court has jurisdiction over the state law claims alleged herein under 31

U.S.C. $ 3732(b). In addition, the Court has supplemental jurisdiction over the claims brought on

behalf of the state plaintiffs under 28 U.S.C. $ 1367.

        5.     The False Claims Act provides that an action under 31 U.S.C. $ 3730 may be

brought "in any judicial district in which . . . any one defendant can be found, resides, transacts

business, or in which any act prosclibed by section 3729 occtrred." 31 U.S.C. $ 3732(a). The

Defendants all tlansact business in this judicial district by, among other things, shipping NIVs to

customers residing in this judicial district. Moreover, Apria owns and operates a branch office in

Elmsford, NY. Accordingly, this Court has personal jurisdiction over the Defendants, and venue

isappropriateinthisdistrict. 31 U.S.C.$3732(a).Venueisalsoproperunder23U.S.C. $ 1391.




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         6.      None of the allegations set forth in this Complaint is based on a public disclosure

of allegations or trausactions in a criminal, civil or administrative hearing, in a congressional,

adrninistlative or General Accounting Office report, hearing, audit ol investigation, or from the

news media. Relators have direct and independent knowledge of the information on which the

allegations set forth in this Cornplaint are based. Moreover, prior to filing this lawsuit and prior'

to any public disclosules regarding this matter, Relators voluntarily provided the information set

forth herein to agents of the United States Department of Justice and to the Attorneys General of

the state plaintiffs.

        7.       None of the allegations ol transactions set forth in this Complaint is substantially

the same as allegations or transactions that have been publicly disclosed in a Fedelal criminal,

civil or administrative hearing in which the Government or its agent is a party, or in a
congressional, administrative or Government Accountability Office, or other Federal report,

hearing, audit or investigation, or from the news media.

                                          THE PARTIES

        Relators

        8.       Relator Benjamin Mafünez was employed by Apria as a Respiratory Therapist

from approximately 1997 until 2016, at Apria's Riverside, CA branch office. Relator Connie

Morgan has been employed by Apria, since early 2015, as a Respiratory Therapist in Apria's St.

Peters, MO branch office. Relatol Christopher Negrete was employed by Apria as a Respiratory

Therapist from approximately 2002 to 2015, in Apria's Riverside, CA branch office. The

Relators, combined, have over 50 years' experience as Respiratory Therapists, of which more

than 35 years were spent working for Apria.




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         9.       During their tenure at Apria, all three Relators spoke up about the Apria practices

described in this Complaint.

         10.      Relator Ben Martinez laised concerns with patients being inappropriately

switched to NIV machines and being kept on those machines even though non-compliant. He

spoke about this with Apria's Corporate Vice-President of compliance. Relator Martinez also

brought these concerns to his regional "compliance manager." Soon afterward, Martinez was

terminated in a so-called "force reduction." Martinez is bringing a claim for retaliation, set forth

below.

         1   1.   Relator Chris Negrete also raised concerns about patients being inappropriately

switched to NIV machines and being kept on those machines even though non-compliant. He

spoke about this to his off,rce branch manager and his regional manager of sales, prior to his

termination. He also informed Apria's Corporate Vice-President of compliance of his concerns

that many Apria patients \ryere non-compliant with their NIV treatment. Negrete is bringing a

clairn for retaliation, set forth below

         12.      Relator Connie Morgan informed her Human Resources contact about a colleague

falsifying doctors' work orders. That colleague has since left the company, but the culture of

sales plessure remains.

         Plaintiff United Stafes Of Americcr

         13.      Relators bring this action on behalf of the United States pursuant to the qui tam

plovisions of the federal False Claims Act, 31 U.S.C. ç 3729 et seq.

         14.      On behalf of the United States, Relators seek recovery for damages to federally-

funded health insurance programs, including, but not limited to, the federal-state Medicaid drug

benefit program, established under Title XIX of the Social Security AcI,42 U.S.C. S1396 et seq.,



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and state laws; the Medicare Part B program; the Federal Ernployees Health Benefits Plan

("FEHBP"), established under Chapter 89 of Title 5 of the U.S. Code,5 U.S.C. SS 8901 through

8914:- and the U.S. Department of Defense TRICARE and CHAMPUS health care programs,

established pursuant to 10 U.S.C. $ 1071 et seq.

        15. The Centers for Medicare and Medicaid Services ("CMS") of the U.S.
Deparlment of Health & Human Services ("HHS") funds and oversees the joint federal-state

funded Medicaid Program for the financially needy. The state plaintiffs participate in the

Medicaid program, under which they pay for durable rnedical equiprnent (DME) in ceftain

circumstances and for certain indigent individuals who are beneficiaries of such programs.

Reimbursement for DME covered by a state Medicaid program is made by each state's Medicaid

program agency, which, in turn, seeks reimbursement for a poltion of its expenditures from the

federal government.

       16.     CMS funds and oversees the Medicare Part B program, which covels a portion of

durable medical equipment (DME) for eligible individuals. CMS funds and oversees this

program through contracts with Durable Medical Equipment Administrative Contractors

("DMACs"). The DMACs administer the Medicare Durable Medical Equipment for Medicare

Part B. The DMACs evaluate and process claims for payment from suppliers like Apria, and

issue the payments. (The DMACs are then separately reimbursed by CMS.) The DMACs have

authority to conduct audits and issue binding guidance regarding what documentation is required

in order to submit a claim for reimbursement. Some of the DMACs' guidance is in the form of

Local Coverage Determinations ("LCDs"). Making a false claim to a DMAC is equivalent, for

purposes of the FCA, to making the false statement directly to CMS.




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        17. The U.S. Offìce of Personnel Management ("OPM") funds and oversees the
FEHBP, which covers a portion of DME expenditures incumed by federal government

employees, retirees, and their families.

        18. The U.S. Deparlment of Defense ("DOD") funds and oversees the CHAMPUS
and TRICARE programs, which cover a portion of DME expenditures incurred by civilian DOD

employees, retirees, and their families.

        Støte Plnintffi

        19. Relators bring this action on behalf of the states of California, Colorado,
Connecticut, Delaware, the District of Columbia, Florida, Georgia, Hawaii, Illinois, Indiana,

Louisiana, Maryland, Massachusetts, Michigan, Minnesota, Montana, Nevada, New Hampshire,

New Jersey, New Mexico, New York, Nofth Carolina, Oklahoma, Rhode Island, Tennessee,

Texas, and Virginia ("the state plaintiffs"). Relators bring this action under the qui tam

provisions of the following false claims laws of the state plaintiffs: Alaska Stat. Ann. S

09.58.010 et seq.; California False Claims Law, Cal. Gov. Code $ 12650 et seq.; California

Insurance Frauds Prevention Act, Cal. Ins. Code $ 1871 et seq.; Colorado Medicaid False Claims

Act, Col. Rev. Stat.25.5-4-303.5 through 25.5-4-310; Connecticut Gen. Stat. g 4-274 er seq;the

District of Columbia's False Claims Act, D.C. CooE S$ 2-381 .01 et seq.; Ihe Delaware False

Claims and Reporting Act, 6 Del. C. $ 1201 et seq.; Florida False Claims Act, Fla. Stat. $$

68.081-68.09; Georgia State False Medicaid Claims Act, Ga. Code Ann. $ 49-4-168, et seq.;

Hawaii False Claims Law, HRS $ 661-21 et seq.; Illinois Whistleblower Reward & Protection

AcT,740ILCS 17511 et se4.; Illinois Insurance Claims Fraud Prevention AcI,740ILCS 9211 et

seq.;Indiana False Claims & Whistleblower Protection Law, Ind. Code $ 5-ll-5.5.-1 et seq.;

Iowa False Claims Act, Iowa Code $ 685.1 et seq.; Louisiana Qui Tam Action Act, La. R.S.


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46:438.1 et seq.; Maryland False Health Clairns Act, Md. Code Arur. Health-Gen. $ 2-601 et

seq.; Massachusetts False Claims Law, Mass. Gen. Laws Ann. ch. 12, $ 54, el seq.; Michigan

Medicaid False Claims Act, Mich. Comp. Laws Ann. $ 400.601 , el seq.; Minnesota False Claims

Act, Minn.Stat. $ l5C.0l et seq.; Montana False Claims Act, Mont. Code Ann. $ 17-8-401 e/

seq.; Nevada Submission of False Claims to State or Local Government Act, Nev. Rev. Stat.

Ann. $ 351.010 et seq.; the New Jersey False Claims Act, N.J. Stat. Ann. $ 2A:32C-l; New

Mexico Medicaid False Claims Act, N.M. Stat. Ann. $ 27-14-l et seq.; New York False Claims

Act, N.Y. State Fin. Law $ 187 et seg.; North Carolina False Claims Act, N.C. Gen. Stat. Ann. $

1-605 et seq.; Oklahoma Medicaid False Claims Act, Okla. Stat. Ann. tit. 63, S 5053.7 et seq.;

Rhode Island False Claims Act, R.L Gen. Laws Ann. S 9-1 .7-7 et seq.; Tennessee Medicaid

False Claims Act, Tenn. Code Ann. $ 71-5-187 eÍ seq.; Texas False Claims Act, Tex. Hum. Res.

Code Ann. $ 36.001 et seq.; Vermont False Claims Act, Vt. Stat. Ann. tit. 32, $ 630 et seq.;

Virginia Fraud Against Taxpayers Act, Va. Code Ann. S 8.01-216.1 et seq.; and the 'Washington

Health Care False Claim Act, Wash. Rev. Code Ann. $ 48.80.010 et seq.. On behalf of the state

plaintifß, Relators seek recovery for damages caused by the submission of false claims to state-

funded health insurance programs, including but not limited to: i) the federal-state Medicaid

programs that are jointly funded by the United States and the state plaintiffs; and ii) other state

health insurance programs that cover some or all of the costs of durable medical equipment

(DME). Under the California Insurance Frauds Prevent Act and Illinois Insurance Claims Fraud

Prevention Act, Relators seek recovery for damages caused by the submission of false claims to

private insurers.




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       Defendant Apria

        20.    Apria is one of the nation's largest providels of home respiratory services and

certain durable medical equipment (DME), including oxygen therapy, inhalation therapies, and

sleep apnea treatment. Through its Apria Healthcare LLC operating unit, Apria operates more

than325locations throughout the United States and serves more than 1.8 million patients each

year. According to Apria's press releases, the company is privately held. Its owners are a group

of investment limited partnerships managed by affiliates of Blackstone Q.{YSE: BX).

       21.     Apria sells and rents ventilation machines, which are prescribed to patients for a

variety of breathing-related diseases and disorders, including but not limited to sleep apnea,

chronic obstructive pulmonary disease (COPD), and neurological and neuromuscular disorders,

among others. Apria employs salespeople, who market Apria's products to doctors. Apria also

employs Respiratory Therapists, whose regular job is to train and guide patients on how to use

the equipment sold or rented by Apria. As discussed fuilher below in this complaint, Apria's

fraudulent scheme has diverted Respiratory Therapists to serve as another part of Apria's sales

lorce lor NIV machines.

                             BACKGROUND ON NIV THERAPY

       22.     Broadly speaking, there are four major types of machines that assist patients with

breathing. In increasing order of complexity and cost, they are:

       (l) Oxygen-only masks and nose pieces (for example, cannulas that connect to an oxygen
           tank, and provide oxygen-rich air directly to the patient, but that do not assist with

           breathing);

       (2) Continuous Positive Airway Pressure ("CPAP") machines, that (with or without

           oxygen) deliver a constant pressure of air through a rnask to the patient;



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           (3) Bi-lateral Positive Airway Pressure ("BiPAP") machines, that (with or without

               oxygen) deliver two different pressures of air through a rnask to the patient.

               Typically, the machine senses when a patient is inhaling or exhaling, and switches

               pressures according to the patient's breaths; and

           (4) Non-Invasive Ventilation ("NIV") rnachines, that (with or without oxygen) deliver

               pressurized air to the patient. NIV machines are unlike BiPAP and CPAP machines

               because they "breathe for" the patient, while CPAP and BiPAP simply deliver one (or

               two) constant pressures.

           23. NIV machines are much more expensive than simpler CPAP and BiPAP
ventilators. NIV costs approximately S3,775lmonth for renting one machine. By comparison,

simpler machines rent for $90/month (CPAP) and $208/month (BiPAP), or may be purchased for

approximately 5797 (CPAP) or approximately $1 ,126 (BIPAP).

           24.     Another diffelence between NIV and the simpler CPAP and BiPAP machines is

that CMS requires a sleep study be perfolmed, prior to approving reimbursement for CPAP and

BiPAP machines. That requirement (for a sleep study) does not apply to NIV machines. A sleep

study costs time and effort. Among other things, conducting a sleep study requires the patient to

travel to a sleep study center for overnight observation, and often to pay fol some or all of the

service. The lack of a sleep study requirement made it easier for Apria to convince doctors to

prescribe NIV machines to their patients.

           25.    The CMS Office of the Inspector General ("OIG") has identified one NIV billing

code-80464-as being associated with a spike in payments over the last three years.' Iu a


I
 As of January 1,2016, E0464 was discontinued. NIV machines pleviously billed to that code were assigned to
new billing code E0466.


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September 2015 advisory, OIG asked: What caused this spike? Se¿ HHS OIG Data Brief,

Escalating Medicare Billing for Ventilators Raises Concerns, OEI-12-15-00370 (Sep. 2016).

These relators have the altswel'to OIG's question: At least at Apria, fraud explains the increase

in payments for this expensive billing code.

                    STATI]TORY ANI) RBGULATORY BACKGROI]NI)

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        26     The federal False Claims Act provides:

                    [A]ny person who-

                    (A) knowingly presents, or causes to be presented, a false or fraudulent claim
                    for payment or approval;

                    (B) knowingly makes, uses, or causes to be made or used, a false record or
                    statement material to a false or fraudulent claim; ...

                    (G) knowingly makes, uses, ol' causes to be made or used, a false record or
                    statement material to an obligation to pay or transmit money or property to the
                    Government, or knowingly conceals or knowingly and improperly avoids or
                    decreases an obligation to to pay or transmit money or property to the
                    Government,

                    rs liable to the United States Government . . . .

31U.S.C.53729 (aXl).

       27.     Federal law and regulations require that Apria, in order to be reirnbursed under

Medicare, Medicaid, FEHBP, TRICARE or CHAMPUS, must ensure that its items and services

are provided "only when, and to the extent, medically necessary." 42rJ.S.C.      I 1320c-5(a);42
c.F.R. $ 1004.10.

       28.     Apria was and is required to submit claims for reimbursement using the CMS-

1500 form (for any claims submitted by paper to CMS) or the 837 folm (for claims submitted

electronically). The cun'ent version of the CMS-1500 form has been in use since at least


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February 7,2012. By signing the form, or using its electronic equivalent, Apria certified that the

NIV ventilators it provided were "medically necessary."

        29.     Medicare, Medicaid, FEHBP, TRICARE and CHAMPUS distinguish between

NIV therapy and other, less expensive respiratory assistance devices ("RADs"), particularly

CPAP and BiPAP machines. Specifically, in order to qualify for the more expensive machine, a

patient's condition must be so "severe and life-threatening" that "interruption or failure of

respiratory support leads to death."

        30.     Apria knew about this condition of payment. For example, in Apria's own

"Medicare Screening List" (which it describes as a "reference tool for healthcare professionals")

Apria describes the "life-threatening" condition requirement, just quoted, as a "CMS regulation,"

and goes on to state that "fc]laims for ventilators used for the treatment of conditions described

in the RAD LCD [i.e., are not life-threatening] will be denied as not reasonable and necessary."

        31.     Medicare, Medicaid, FEHBP, TRICARE and CHAMPUS also require that

patients be "compliant" with NIV therapy. This is a condition of payment-these government

programs will not reimburse the cost of NIV for non-compliant patients.

        32.    Apria knew that no reimbursement was permitted for non-compliant patients. For

example, in Apria's Medicare Screening List, Apria states: "There must be documentation in the

patient's medical record about the progress of relevant symptoms and patient usage of the device

up to that time. Failure of the patient to be consistently using the. . . device for an average of 4

hours per 24 hour period by the time of the re-evaluation (on or after 6l days after initiation of

therapy) would represent non-compliant utilization for the intended purposes and expectations of

benefit of this therapy."




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        Th e Antí-Kickback Stotute


        33.     The Anti-Kickback Statute,42 U.S.C. $ 1320a-7b(b), plohibits any person or

entity from making or accepting payment to induce or reward any person for referring.

t'ecommending, or arranging for federally funded medical services, including services provided

under the Medicare and Medicaid programs. In relevant part, 42 U.S.C. $ 1320a-7b(b) provides:

        (2) Whoever knowingly and willfully offers or pays any remuneration (including
        any kickback, bribe, ol rebate) directly or indirectly, overtly or covertly, in cash
        or in kind to any person to induce such person-

               (A) to refer an individual to a person for the furnishing or arranging fol the
               furnishing of any item or service for which payment may be made in
               whole or in part under a Federal health care program, or

               (B) to purchase, lease, order, or arrange for or recommend purchasing,
               leasing, or ordering any good, facility, service, or item for which payrnent
               may be made in whole or in part under a Federal health care program,

       shall be guilty of a felony and upon conviction thereof, shall be fined not more
       than $25,000 or imprisoned for not more than five years, or both.

       34.     The CMS-I500 form requires Apria to certify that each "claim. . . complies with

all applicable laws . . . including but not limited to the Federal anti-kickback statute."

       35.     Compliance with the Anti-Kickback Statute is a condition of payment by federal

programs such as Medicare, Medicaid, FEHBP, TRICARE or CHAMPUS. Violation of the

statute can subject the perpetratol to exclusion from participation in federal health care programs

and to civil monetary penalties. 42 U.S.C. $ 1320a-7a(a); $ 1320a-7b(g). Violations of the Anti-

Kickback Statute can also folm the basis for a claim under the False Claims Act. 42 U.S.C. $

1320a-7b(s).

       36.     Routine waiver of patient coinsurance is a violation of the Anti-Kickback Statute.

The Civil Monetary Penalties Law, a companion to the Anti-Kickback Statute, explicitly defines

"remuneration" to include "the waiver of coinsurance." 42 U.S.C. $ 1320a-7a(ix6). The Anti-


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Kickback Statute itself excludes from liability two specific types of coinsurance waivers: (1)

"waiver of any coinsurance by a Fedelally qualifred health center with respect to an

individual who qualifies for subsidized services under a provision of the Public Health Service

AcT," 42 U.S.C. $ 1320a-7b(b)(3)(D); and (2) "waiver or reduction by pharmacies . . . of any

cost-sharing imposed under parl D of this subchapter XVIII of this chapter," 42 U.S.C. $ 1320a-

7b(bX3XG). Neither type of exclusion applies here. Regulations promulgated by CMS further

define the specific safe halbors from the Anti-Kickback Statute related to coinsurance waivers,

see 42 C.F.R. $ l00l .952(k), excluding from these safe halbors any other "routine reduction or

waiver of any coinsurance or deductible amount owed by a program benefictaÍy," 42 C.F.R. S

1001.952(hX5Xiv). Finally, the OIG has long held that any exception to the Anti-Kickback

Statute's "prohibition against waiving copayments" based on "frnancial hardship" "must not be

used routinely" and may only be used "occasionally to address the special financial needs of a

particular patient." 59 Fed. Reg. 65,231,65,375 (1994).

                                THE FRAUDULENT SCHEME

       Overview

       37.    Beginning in or about January 2011 and continuing through the current time,

Apria has employed a scheme to increase sales and rentals of NIV machines.

       38.    Apria created a "boiler room" sales culture that prioritized NIV sales over patient

care and honest billing. Apria directed its Respiratory Therapists (whose regular job is to visit

patients in their homes to assist with their therapy) to "mine" Apria's data records. "Mining"

meant searching for patient records showing a diagnosis of chronic obstructive puhnonaly

disease ("COPD") or some other similar diagnoses. These specific diagnoses were desirable to

Apria because they can (in extreme, life-threatening cases) justify CMS payntents for NIV.



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        39.     The "mining" plogram is now called the "Aplia Clinical Evidence" (ACE)

program. An internal ACE training PowerPoint, obtained by relators and dated in 2016, states:

"ln order to significantly grow the company's NIV business, Apria needs each market and branch

to leverage the ACE program. Target 25o/o starts growth pre vs post-ACE rollout."

        40.     Many of Apria's "mined" COPD patients were already receiving a simpler (and

cheaper) form of therapy-typically oxygen (administered tlirough a nasal cannula during the

day) and CPAP or BiPAP (usually at night).

        41.     Respiratory Therapists were instructed to "reach olrt" to the "minêd" patients by

phone, and to follow scripts, during their phone calls, to determine if the patients met the criteria

for NIV therapy.

        42.     Apria salespeople used the information gathered by the Respiratory Therapists, in

the "mining" process, to convince the patients' doctors to sign work orders for NIV therapy,

Many of these doctors \À/ere general practitioners without expertise in the differences between

types of ventilators.

        43.     Once the doctor's work order had been obtained, Aplia refused to help patients

return to simpler therapy or even to return the equipment. Instead, Apria would attempt to "re-

educate" patients on the NIV machines. The Relators wele instructed to tell patients that

returning to their old therapy would cause them severe harm and require a tracheotomy.

        44.     Apria pitted its branch offices against each other in contests to see which office
                                                      'Winners
could have the most "NIV staLts" in each quarter.                received cash prizes, expensive office

lunches and outings, and recognition. One "victory" email obtained by Relators for their branch

office in Riverside, CA stated: "BAM!!!! We wele 1 blanch away last time and we won it this

time, awesome work from everyone on oul niv/nwpt growth. 'We get to celebrate big now!


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 Riverside branch gets the Cup, a victor'y lunch, and $1500 fol a team event. How cool is

this! !! ! !!"

           45.   Similarly, an email sent to the St. Peters, MO branch office encouraged "mining"

with cash bonuses of up to $6,000 per quartel, to be awalded if the branch increased the number

of newNIV "starls": "The incentives are on the table-you have a mining contest going for an

'/, day off and a gift certification-then there is the corporate Q2 [cash] bonus program-so no

reason NoT to press as hard as we can to drive and grow tliis product line."

          46.    A business-wide training powerpoint in July 2016 stated: "NIV remains the most

important initiative in the company and time is NOW!" "Branch and Sales Rep Scoreboards are

planned to help create'competitive tension'." "Look in the mirror and decide if you are going to

[be] part of the solution to get us above 40 [NIV] stafis per day nationally."

          47. NIV patients were also required to make a monthly co-pay on their devices-
unless they had secondary insurance that would rnake the co-pay, or unless they were granted a

"financial hardship" waiver by Apria. Relator Comie Morgan has knowledge that Apria's

branch manager would coach NIV patients in filling out their "financial hardship" forms in order

to ensure they qualified. This benefitted Aplia because Apria knew that these patients, if

required to make the co-pay, would have complained and rejected the NIV machines. By

waiving the "co-pay" requirement, Apria knew that it would avoid those patient complaints

while continuing to make money by billing Medicare, Medicaid, FEHBP, TRICARE and

CHAMPUS.

          48.    Apria has deceived Medicare, Medicaid, FEHBP, TRICARE and CHAMPUS by

knowingly submitting false claims for reimbursernent for NIV rentals and purchases, for which

Apria was not entitled to reimbursement (and Apria knew it was not so entitled).



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        49.     Apria's claims were false for one (or nrore) of the following reasous: the patients

were non-compliant (thereby violating both the "life threatening" and the "4-hour compliance"

conditions of payment); the patients' machines were only used in BiPAP or CPAP mode, not in

the NIV mode; the patients' physicians orders were forged; or the patients wele receiving

unlawful "kickbacks" in the folm of co-pay waivers.

       50. At least one DMAC has conducted audits of NIV claims submitted by DME
providers under billing codes F.0464 and E0466 and found error rates of 100% and 76%o,

respectively, for reasons including failure of "justification fol medical need" because the NIV

was not used to treat "life-threatening conditions where interruption of respiratory support would

quickly lead to serious harm or death." If the United States had known that Apria was

submitting claims for NIV machines used by non-compliant patients; NIV machines only used in

BiPAP or CPAP mode; NIV machines ordered as a result of forged prescriptions; or NIV

machines associated with unlawful kickbacks, the United States would not have paid Apria's

claims. Similarly, Apria's concealment of these false practices were material to the United

States' failure to require Apria to correct overpayments for NIV already received.

       No n-C omp liant P atients

       51.       First, Apria collects and stores internal data that show that many of its NIV

patients are and were "non-compliant" (i.e., not using the NIV machines at all, or using them for

much less than the 4 hours per day requiled for reirnbursement by CMS). Relators believe that

this is the most widespread source of false claims. Apria's internal data comes in at least two

forms: First, machine-generated data, recol'ded by tlie machines on removable memory cards

that Apria's Respiratory Therapists uploaded to Apria's internal database, and second,

handwritten progress notes created by Respiratory Therapists after checking up on patients in


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their homes. The machine-generated data shows average daily use of as low as just 27 minutes

pel day. The rnachine-generated data also shows the number of days on which the machines

were not used at all. Separately, the plogress notes document the "hours used" of the machines

since the last visit, and many documents show zero hours of use or low, single-digit hours of use,

even though several months have elapsed since the last progress notes.

       52.     Non-compliance indicates that the patients' condition is not so "severe and life-

threatening" that "interruption or failure of respiratory support leads to death." Non-compliance

patients not only "interrupted" their "respiratory support," they did not use the NIV machine at

all, often for days, weeks, even months at a time.

        53.    From personal observation in their two separate branch offices, and from

conversations with their colleagues, the relators know that non-compliance is extremely common.

One relator \ /as reprimanded for alerting a patient's doctor to the patient's non-compliance.

(Alerting the doctor would have risked a change in prescription to a simpler machine.)

       Switclting Patients from NIV to B|PAP or CPAP

       54.     Second, Apria knowingly switched some of its patients from the "NIV" mode of

therapy to the "BiPAP" mode of therapy. Aplia's NIV machines supported both kinds of therapy,

but Medicare, Medicaid, FEHBP, TRICARE and CHAMPUS reimburse at a much lower rate for

the simpler BiPAP type of therapy. The BiPAP therapy was for many patients more familiar and

easier to tolerate. Apria therefore instructed its Respiratory Therapists to switch the machine's

setting from "NIV" to "CPAP" or "BiPAP" lnode (a type of therapy that a much cheaper machine

could provide) yet continued to bill CMS at the much higher NIV rate. One relator was

leprimanded by his "marketing leader" for not switching a patient to a simpler mode in order to




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keep the patient using the more expensive machine. However, Apria never informed Medicare,

Medicaid, oI TRICARE of this switch, and continued to bill at the higher NIV rate.

        Forgeries

        55.     Third, Apria personnel knowingly forged doctols' signatures on some doctors'

prescriptions for NIV, in order to obtain authorization to switch the patients to NIV and to bill

Medicare, Medicaid, or TRICARE for this item.

       SpeciJic Patients for Whom Apria Submitted False Claims

        56.     Apria knowingly subrnitted false claims for reimbursement for patients Apria

knew to be non-compliant with their NIV therapy either because of non-use or because Apria

had switched these patients to BiPAP mode. For example, documents obtained by relators

indicate that Apria knew the following patients, (whose NIV machines were being billed to

Medicare, Medicaid, or Tricare), were non-compliant in one of these ways (the patients are

identified here by their CMS Health ldentification Card "HIC" number unless otherwise

specified): 546621356A, 552566304A, 5615368014, 413484219A (and second insurer

TRICARE 398428432); 5 64522467 A; 42592 8 0 1 9A (and second insurer TRICARE 427 684305);

64150471 (a Missouri Medicaid nurnber); 490384981D;489621574A (second insurer Missouri

Medicaid: 13272737); 487762074A (Missouri Medicaid second insurer: 03482502);

486528332A;247740937 A; and 01842261 (a Missouri Medicaid number).

       57.      Apria also knowingly subrnitted false claims for the following patients, whose

physician work orders had been lorged by Amy Sloane, who was then Apria's Branch Office

Manager for the St. Peters, Missouri Branch Office (the patients are identified here by their CMS

Health Identification Card "HIC" number unless otherwise specified): 3283695804;

5005669284; 490402503A; 316362700A (second insurer Tricare, number 00317540700);


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307482327A 496403034A;2380439514; W4990843 (second insurers CHAMPUS number

490380994 and CHAMPVA number 490380994);337362590A; 4937813894 (second insurer

Missouri Medicaid, number 07154016); 4965638854; 4922211844 (second insurer Tricare,

number 492221184);975102763:' 4905062238; 4983630204 (second insurer Tricare, number

463388473); 500569844A;489782169A (second insurer Missouri Medicaid, number 63032054).

         Aprío's Froud Harmed Pcttients

         58.    Switching COPD patients from their existing therapy to NIV threatened patient

health in two ways: Fi¡"sr, NIV machines are more complicated and, for some patients, more

uncomfortable. Most COPD patients are old and vulnerable, are accustomed to their simpler

therapy, and have struggled to adapt to the more cumbersome NIV machines. The relators

observed some patients routinely forget to plug their oxygen cylinders into their NIV machines

before going to sleep at night (a critical step to getting necessary oxygen). The relators observed

other patients, who were unable to tolerate the discomforl, simply refuse to use the machine at

night.

         59.   Second, NIV machines automatically deliver a certain volume of air, unlike

BiPAP and CPAP machines. That automated volume is dangerous for patients whose lungs fill

with liquid during the night. Liquid in the lung reduces the total air volume available. When a

constant volume is blown into a reduced space, the lung may be damaged or even burst.

                                          COUNT ONE

                      (Federal False Claims Act, 31 U.S.C. ç 3729 er seq.)

         60.   This is a civil action by Relators, acting on behalf of and in the name of the

United States, against the Defendants under the False Claims Act.




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         61.     Relators reallege and incorporate by reference paragraphs 1 through 59 as though

fully set forth herein.

        62.      Apria has knowingly presented or has caused to be presented false or fìaudulent

claims for payment by the United States, in violation of 3 I U.S.C . $ 3729(a)(l XA).

         63. Apria has knowingly made or used, or caused to be made or used, false records or
statements to get false or fraudulent claims paid or approved by the United States, in violation of

31 u.s.c. $ 372e(a)(1)(B).

        64.     Apria has knowingly concealed or knowingly and irnproperly avoided or

decleased an obligation to pay or transmit money to the United States, in violation of 31 U.S.C.

$ 372e(aXlXG).

        65. Because of the Defendant's conduct set forth in this Count, the United States has
suffeled actual damages in the hundreds of millions of dollars, with the exact amount to be

determined at trial.

        66.     Relator Chris Negrete and Relator Ben Martinez were rwrongfully retaliated

against. They were terminated by Apria in retaliation for bringing to Apria's attention the

fraudulent conduct set forth above. This retaliation violated 31 U.S.C. $ 3730(h).

                                          COUNT TWO

                     (Alaska Medical Assistance False Claim and Reporting Act,
                               Alaska Stat. Ann. $ 09.58.010 et seq.)

        67.     Relators reallege and incorporate by reference paragraphs I through 59 as though

fully set forth herein.

        68.     Based on the foregoing allegations, the Defendants are liable under Alaska Stat.

Ann. $ 09.58.1 10.



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         69.      Apria's retaliation against Relator Chris Negrete and Relatol' Ben Martinez

violated Alaska Stat. Ann. $ 09.58.070.

                                           COUNT THREE

                    (California False Claims Law, Cal. Gov. Code $ 12650 et seq.)

         70.      Relators reallege and incorporate by reference paragraphs I through 59 as though

fully set fofth herein.

        71.       Based on the foregoing allegations, the Defendants are liable under Cal. Gov.

Code $ 12650 et seq.

        72.       Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez

violated Cal. Gov. Code g 12653.

                                           COUNT FOUR

            (California Insurance Frauds Prevention Act, Cal. Ins. Code $ 1871 et seq.)

        73.       Relators reallege and incorporate by reference paragraphs I through 59 as though

fully set forth herein.

        74.       Based on the foregoing allegations, the Defendants are liable under Cal. Ins. Code

5$ 1871 et seq.


        75.       Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez

violated Cal. Ins. Code g 1871.7(k).

                                           COUNT FIVE

     (Colorado Medicaid False Claims Act, Col. Rev. Stat.25.5-4-303.5 through 25.5-4-310)

        76.       Relators reallege and incorporate by reference paragraphs I through 59 as though

fully set forth herein.




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        77.     Based on the foregoing allegations, the Defendants are liable under

Col.Rev.Stat.25.5-4-303.5 et seq.

        78.     Apria's retaliation against Relator Chris Negrete and Relator Ben Maltinez

violated Col.Rev.Stat. $ 25.5-4 .306(7).

                                            COUNT SIX

                  (Connecticut False Claims Act, Conn. Gen. Stat. ç 4-274 er seq.)

        79.     Relators reallege and incorporate by reference paragraphs I through 59 as though

fully set forth herein.

        80.     Based on the foregoing allegations, the Defendants are liable under Conn. Gen.

Stat. $ 4-274 et seq.

        81.     Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez

violated Conn. Gen. Stat. ç 4-284.

                                           COUNT SEVEN

               (Delaware False Claims & Reporting Act, 6 Del. Code $1201 er seq.)

        82.     Relators reallege and incorporate by reference paragraphs 1 through 59 as though

fully set forth herein.

        83.     Based on the foregoing allegations, the Defendants are liable under the Delaware

False Claims & Reporting Act, 6 Del. Code $1207 et seq.

        84.     Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez

violated 6 Del. Code $ 1208(b).

                                           COUNT BIGHT

              (District of Columbia False Claims Act, D.C. Code $ 2-381.07 et seq.)




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         85.     Relators reallege and incorporate by leference paragraphs I through 59 as though

fully set forth herein.

         86.     Based on the foregoing allegations, the Defendants are liable under D.C. Code $

2-308.01 et seq.

         87.     Apria's retaliation against Relator Chris Negrete and Relator Ben Marlinez

violated D.C. Code $ 2-381.04.

                                          COUNT NINE

                           (Florida False Claims Act, Fla. Stat. g 68.081 et seq.)

        88.      Relators reallege and incorporate by reference paragraphs I through 59 as though

fully set forth herein.

        89.      Based on the foregoing allegations, the Defendants are liable under Fla. Stat. $

68.081 et seq.

        90.      Apria's retaliation against Relator Chris Negrete and Relator Ben Marlinez

violated Fla. Stat. $ 68.088 and Fla. Stat. g 112.3187.

                                          COUNT TEN

          (Georgia State False Medicaid Claims Act, Ga. Code Ann. $ 49-4-168, et seq.)

        91.      Relators reallege and incorporate by reference paragraphs I through 59 as though

fully set forth herein.

        92.      Based on the foregoing allegations, the Defendants are liable under the Georgia

State False Medicaid Claims Act, Ga. Code Ann. $ 49-4-l 68, et seq.

        93.      Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez

violated Georgia Code $ 49-4-168.4.




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                                        COUNT ELBVEN

                          (Hawaii False Claim,lu*, HRS $ 661-21 et seq.)

        94.     Relators reallege and incorporate by reference paragraphs 1 through 59 as though

fully set forth herein.

        95.     Based on the foregoing allegations, the Defendants are liable under the Hawaii

False Claims Law, HRS S 661-21 et seq.

        96.     Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez

violated HRS $ 661-30(a); $ 46-180(a).

                                       COUNT T\ryELVE

                 (Illinois Whistleblower Reward & Protection Act, 740 ILCS 17511 et seq.)

        97.     Relators reallege and incorporate by reference paragraphs I through 59 as though

fully set forth herein.

        98.     Based on the foregoing allegations, the Defendants are liable under the Illinois

Whistleblower Reward & Protection Act, 740 ILCS 77517 eÍ seq.

        99.     Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez

violated 740 ILCS 17 Sla!).

                                      COUNT THIRTEEN

              (Illinois Insurance Claims Fraud Prevention AcL,740ILCS 9211 et seq.)

        100. Relators reallege and incorporate by reference paragraphs I through 59 as though
fully set forth herein.

        101. Based on the foregoing allegations, the Defendants are liable under the Illinois
Insurance Claims Fraud Prevention AcL,740 ILCS 9211 eî seq.




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         102. Apria's retaliation against Relator Cliris Negrete and Relator Ben Maltinez
violated 740 ILCS 92140.

                                        COIINT         URTEEN

                           (Indiana False Clairns & Whistleblower Protection Law,
                                 Ind. Code $ 5-11-5.5.-1 ef seq. (2005))

         103. Relators reallege and incorporate by refelence paragraphs 1 through 59 as though
fully set forth herein.

         104. Based on the foregoing allegations, the Defendants are liable under the Indiana
False Claims & Whistleblowel Protection Law, Ind. Code $ 5-11-5.5-1 et seq.

        105. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated Ind. Code $ 5-11-5.5-8(a).

                                         COUNT FIFTEBN

                          (Iowa False Claims Act, Iowa Code $ 685. I et seq.)

        106. Relators reallege and incorporate by reference paragraphs I through 59 as though
fully set forth herein.

        107. Based on the foregoing allegations, the Defendants are liable under Iowa Code

$ 685.1 et seq.

        108. Apria's retaliation against Relatol Chris Negrete and Relator Ben Martinez
violated Iowa Code $ 685.3.

                                                        TBEN

                                      (La. R.S. 46:438.1 er seq. )

        109. Relators reallege and incorporate by reference paragraphs I through 59 as though
fully set forth herein.



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        110. Based on the foregoing allegations, the Defendants are liable under La. R.S.
46:438.7 er seq.

        111. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated La. R.S. $ 46:a39.1(E).

                                      COUNT SEVENTEEN

         (Maryland False Health Claims Act, Md. Code Ann. Health-Gen. $ 2-601 et seq.)

        112. Relators reallege and incorporate by reference paragraphs 1 through 59 as though
fully set forth herein.

        113. Based on the foregoing allegations, the Defendants are liable under the Maryland
False Health Claims Act, Md. Code Ann, Health-Gen. $ 2-601 et seq.

        114. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated Md. Health-Gen. Code Ann. $ 2-607(bXl)

                                       COIINT EIGHTEEN

                (Massachusetts False Claims Law, Mass. Gen. Laws Ann. ch.12, $ 5A et seq.)

        1   15. Relators reallege and incorporate by reference paragraphs I through 59 as though
fully set forth herein.

        1   16. Based on the foregoing allegations, the Defendants are liable under Massachusetts
False Claims Law, Mass. Gen. Laws Ann. ch. 12, S 5A et seq.

        117. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated Mass. Gen. Laws Ann. ch. 12, $ 5J.

                                       COUNT NINETBEN

             (Michigan Medicaid False Claims Act, Mich. Comp. Laws Ann. $ 400.601 , et seq.)




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         1   18. Relatols reallege and incorpolate by reference paragraphs I through 59 as though
fully set forth herein.

        119. Based on the foregoing allegations, the Defendants are liable underthe Michigan
Medicaid False Claims Act, Mich. Cornp. Laws Ann. $ 400.601, eî seq.

        120. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated Mich. Code. S 400.610c(l).

                                         COUNT TWENTY

                          (Minnesota False Claims Act, Minn. Stat. $ 15C.01 e[ seq.)

        121. Relators reallege and incorporate by reference paragraphs 1 through 59 as though
fully set forth herein.

        122. Based on the foregoing allegations, the Defendants are liable under Minn. Stat. $
15C.01 et seq.

        123. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated Minn. Stat. $ 15C.145(a).

                                     COUNT TWENTY-ONE

                      (Montana False Claims Act, Mont. Code Ann. $ 17-8-401)

        124. Relators reallege and incorporate by reference paragraphs 1 through 59 as though
fully set forth herein.

        125. Based on the foregoing allegations, the Defendants are liable under Mont. Code
Ann. $ 17-8-401.

        126. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated Mont. Code Ann. S17-8-412.




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                                     COUNT TWENTY-TWO

               Qrlevada Submission of False Claims to State or Local Government Act,
                              Nev. Rev. Stat. Ann. S 357.010 et seq.)

         127. Relators reallege and incorporate by leference paragraphs I through 59 as though
fully set forlh herein.

         128. Based on the foregoing allegations, the Defendants are liable under Nev. Rev. Stat.
Ann. $ 357.010 et seq.

         129. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated Nev. Rev. Stat. Ann. $ 357.250.

                                   COUNT TWENTY-THREE

                     (Ì.{ew Jersey False Claims Act, N.J. Stat. Ann. $ 2A:32C-I)

        130. Relators reallege and incorporate by reference paragraphs 1 through 59 as though
fully set forth herein.

        l3l.    Based on the foregoing allegations, the Defendants are liable under N.J. Stat.

Ann. $ 2A:32C-l.

        132. Apria's retaliation against Relator Chris Negrete and Relator Ben Maltinez
violatedN.J. Stat. $ 2A:32C-10.

                                    COIINT               -FOUR

           (New Mexico Medicaid False Claims Act, N.M. Stat. Ann. $ 27-14-l et seq.)

        133. Relators reallege and incorporateby reference paragraphs I through 59 as though
fully set forlh herein.

        134. Based on the foregoing allegations, the Defendants are liable under the New
Mexico Medicaid False Claims Act, N.M. Stat. Ann. g 27-14-1 eÍ seq.




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         135. Aplia's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated N.M. Stat. Ann. $ 44-9-11 and $ 27-14-12.

                                    COI]NT T\ilENTY-FIVB

                  (l.Jew York False Claims Act, N.Y. State Fin. Law $ 187 et seq.)

         136. Relators reallege and incorpolate by reference paragraphs 1 through 59 as though
fully set forth herein.

        137. Based on the foregoing allegations, the Defendants are liable under NY State Fin.
Law, Art. 13.

        138. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated N.Y. State Fin. Law S 191.

                                      COUNT TWENTY-SIX

              (North Carolina False Claims Act, N.C. Gen. Stat. Ann. $ 1-605 et seq.)

        139. Relators reallege and incorporate by reference palagraphs I through 59 as though
fully set forth herein.

        140. Based on the foregoing allegations, the Defendants are liable under N.C. Gen.
Stat. Ann. $ 1-605 et seq.

        141. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated N.C. Gen. Stat. Ann. $ 1-613.

                                  COUNT TWENTY-SEVEN

         (Oklahoma Medicaid False Claims Act, Okla. Stat. Ann. tit. 63, S 5053.1 e[ seq.)

        142. Relators reallege and incorporate by reference paragraphs I through 59 as though
fully set forth herein.




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        143. Based on the foregoing allegations, the Defendants are liable under Okla. Stat.
Ann. tit. 63, $ 5053.1 et seq.

        144. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated Okla. Stat. Ann. tit. 63, $ 5053.5(E).

                                   COUNT TWENTY-EIGHT

                 (Rhode Island False Claims Act, R.I. Gen. Laws $ 9-1 .1-1 et seq. )

        145. Relators reallege and incorporate by reference paragraphs I through 59 as though
fully set forth herein.

        146. Based on the foregoing allegations, the Defendants are liable under R.I. Gen.
Laws $ 9-1.1 -7 et seq.

        147. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated R.I. Gen. Laws $ 9-1.l-aþ).

                                    COUNT T\ryENTY-NINE

           (Tennessee Medicaid False Claims Act, Tenn. Code Ann. $ 71-5-187 et seq.)

        148. Relators reallege and incorporate by reference paraglaphs 1 through 59 as though
fully set forth herein.

        149. Based on the foregoing allegations, the Defendants are liable under the Tennessee
Medicaid False Claims Act, Tenn. Code Ann. $ 7l-5-187 eÍ seq.

        150. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated Tenn. Code Ann. $ 4-18-105.

                                        COUNT THIRTY

            (Texas False Claims Act, Texas Human Resources Code, S 36.001 et seq.)




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         151. Relators reallege and incorporate by reference palagraphs 1 through 59 as though
fully set forth herein.

         152. Based on the foregoing allegations, the Defendants are liable under the Texas
False Claims Act, Tex. Hum. Res. Code Ann. $ 36.001 , et seq.

         153. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated Tex. Hum. Res. Code Ann. $ 36.115.

                                      COI]NT THIRTY-ONE

                   (Vermont False Claims Act, Vt. Stat. Am. tit. 32, S 630 et seq.)

        154. Relators reallege and incorporate by reference paragraphs I through 59 as though
fully set forth herein.

        155. Based on the foregoing allegations, the Defendants are liable under the Vermont
False Claims Act, Vt. Stat. Ann. tit. 32, $ 630 et seq.

        156. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated Vt. Stat. Ann. tit. 32, S 638.

                                      COUNT THIRTY-TWO

           (Virginia Fraud Against Taxpayers Act, Va. Code Ann. $ 8.01-216.7 et seq.)

        157. Relators reallege and incorporate by reference paragraphs I through 59 as though
fully set forth herein.

        158. Based on the foregoing allegations, the Defendants are liable under Va. Code
Ann. $ 8.01-216.1 et seq.

        159. Apria's retaliation against Relator Chris Negrete and Relator Ben Martinez
violated Va. Code Ann. g 8.01-216.8.




                                                 aa
                                                 JJ
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                                     COIINT T           TY-THREE

      (Washington Health Care False Claim Act. Wash. Rev. Code Ann. $ 48.80.010 er seq.)

         160. Relators reallege and incorporate by reference paragraphs I through 5g as though
fully set forth herein.

         161. Based on the foregoing allegations, the Defendants are liable under Wash. Rev.
Code Ann. $ 48.80.010 et seq.

                                      PRAYER FOR RELIBF

         WHEREFORE, Relators pray for the following relief:

         162. On Counts 1 through 33, judgment for the United States or the State, as applicable,
against Defendants in an amount equal to three times the damages the federal or state plaintiff

government, respectively, has sustained because of the Defendants' actions, plus a civil penalty

of $ 1 I ,000 (or such other maximum amount as may be provided by law) for each violation;

         163. On Counts 1 through 33, an award to Relators of the maximum allowed under the
federal or state law under which suit is blought by the Relatols on behalf of the federal or state

plaintiff,, respectively ;

         164. On Counts I through 33, awards to Relator Chris Negrete and Relator Ben
Mafünez for damages resulting from theil retaliatory termination, including back wages

multiplied by the amount allowed under the state laws, reinstatement with past and any lost

seniority, and all consequential damages;

         165. Against the Defendants, attorneys' fees, expenses and costs of suit; and
        166. Such other and further relief as the Courl deems just and proper.
                                  DEMAND FOR JURY TRIAL

        Plaintiffs request that this matter be tried before a jury



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DATED: March 14,2018                                          Respectfully submitted,




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